                        EXHIBIT 1




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DeDe Gibby

From:                         Robert MacGill <robert.macgill@macgilllaw.com>
Sent:                         Thursday, February 22, 2024 12:29 PM
To:                           Matt Pietsch
Cc:                           Adam Brody; Alex Otchy; Besen, Gene; Bundren, Brandon; Callas, Gretchen; Gino
                              Marchetti; John Jacobson; Kathy Klein; Nokes, Scarlett; Patrick Sanders; Scott Klein; Scott
                              Murray; Steve Mintz; Terence McCormick; Thomas J. Hurney, Jr. - Jackson Kelly PLLC
                              (thurney@jacksonkelly.com)
Subject:                      Case Management Order Extension (Identify and Disclose Expert. Witnesses and
                              Reports)



Counsel,

Our efforts to secure discovery have been obstructed at every turn by the defendants. As a result, it is not
possible to meet the milestone set by the Court to Identify and Disclose Expert Witnesses and Reports.

We will be requesting an extension until March 29, 2024 to meet this case requirement. Please let us
know if you agree to this enlargement this afternoon. If we do not hear from you, we will understand that
you oppose our request and will so report to the Court in our filing this evening.

Best regards.


Robert D. MacGill
MacGill PC
156 E. Market St.
Suite 1200
Indianapolis, IN 46260
317.442.3825
Robert.MacGill@MacGillLaw.com




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